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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN


 DANIEL EDWARD CALLAHAN,

          Plaintiff,
 v.                                                                    Hon. Paul L. Maloney

 JUDY ELLEN BREGMAN, et al.,                                           Case No. 1:19-CV-1034

          Defendants.


                             REPORT AND RECOMMENDATION

I.       Introduction

         Plaintiff initiated this matter on December 9, 2019, against Judy Ellen Bregman and Mark

Howard Welch. Having granted Plaintiff’s motion to proceed as a pauper, the Court has conducted

an initial review of the complaint pursuant to 28 U.S.C. § 1915(e)(2) to determine whether it is

frivolous, malicious, or fails to state a claim upon which relief can be granted. Having conducted

this initial review, the Court concludes that Plaintiff’s complaint must be dismissed for failure to

state a claim upon which relief may be granted.

II.      Legal Standard

         Pursuant to Federal Rule of Civil Procedure 12(b)(6), a claim must be dismissed for failure

to state a claim on which relief may be granted unless the “[f]actual allegations [are] enough to

raise a right to relief above the speculative level on the assumption that all of the complaint’s

allegations are true.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 545 (2007) (internal citations

and footnote omitted).

         As the Supreme Court has held, to satisfy this rule, a complaint must contain “sufficient

factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft
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v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Twombly, 550 U.S. at 570. This plausibility standard

“is not akin to a ‘probability requirement,’ but it asks for more than a sheer possibility that a

defendant has acted unlawfully.” Id. If the complaint simply “pleads facts that are merely

consistent with a defendant’s liability, it stops short of the line between possibility and plausibility

of entitlement to relief.” Id. (internal quotation marks omitted). As the Court further observed:

        Two working principles underlie our decision in Twombly. First, the tenet that a
        court must accept as true all of the allegations contained in a complaint is
        inapplicable to legal conclusions. Threadbare recitals of the elements of a cause of
        action, supported by mere conclusory statements, do not suffice. Rule 8 marks a
        notable and generous departure from the hyper-technical, code-pleading regime of
        a prior era, but it does not unlock the doors of discovery for a plaintiff armed with
        nothing more than conclusions. Second, only a complaint that states a plausible
        claim for relief survives a motion to dismiss. Determining whether a complaint
        states a plausible claim for relief will, as the Court of Appeals observed, be a
        context-specific task that requires the reviewing court to draw on its judicial
        experience and common sense. But where the well-pleaded facts do not permit the
        court to infer more than the mere possibility of misconduct, the complaint has
        alleged— but it has not “show[n]”—“that the pleader is entitled to relief.”

Id. at 678–79 (internal citations omitted).

        When evaluating a complaint under Rule 12(b)(6), a court may consider the complaint and

any exhibits attached thereto, public records, and items appearing in the record of the case. See

Bassett v. NCAA, 528 F.3d 426, 430 (6th Cir. 2008); see also, Cont’l Identification Prods., Inc. v.

EnterMarket, Corp., 2008 WL 51610 at *1, n.1 (W.D. Mich. Jan. 2, 2008) (stating that “an exhibit

to a pleading is considered part of the pleading” and “the Court may properly consider the exhibits.

. .in determining whether the complaint fail[s] to state a claim upon which relief may be granted

without converting the motion to a Rule 56 motion”); Stringfield v. Graham, 212 F. App’x 530,

535 (6th Cir. 2007) (documents “attached to and cited by” the complaint are “considered parts

thereof under Federal Rule of Civil Procedure 10(c)”).




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III.   Discussion

       Although the background is not entirely clear, it appears that Plaintiff was a defendant in a

state-court domestic relations action brought by his ex-girlfriend, Veronica Ann Marota, several

years ago. (ECF No. 1 at PageID.3.) Defendants, who are attorneys, represented Ms. Marota in

that litigation. More recently, Plaintiff sued Ms. Marota in a state-court action in which Defendants

also represented Ms. Marota. In connection with the later-filed action, Defendants were awarded

attorneys’ fees against Plaintiff. (ECF No. 1-5.) Defendants attempted to collect the fee award by

garnishing Plaintiff’s checking account at JP Morgan Chase Bank. (ECF No. 1-4.) Plaintiff alleges

that the funds Defendants garnished from his account consisted of Plaintiff’s Social Security

Disability benefits. (ECF No. 1 at PageID.2.)

       Plaintiff alleges various claims arising under federal law. First, Plaintiff alleges that

Defendants violated his right to due process under the Fourteenth Amendment to the United States

Constitution. In order to establish a due process violation, Plaintiff must show that Defendants

were state actors. Waeschle v. Dragovic, 576 F.3d 539, 544 (6th Cir. 2009); see also Krukemyer

v. Forcum, 475 F. App’x 563, 566 (6th Cir. 2012) (“Indeed, there is no constitutional right to be

free from harm inflicted by private actors. A due process claim lies only against a governmental

defendant.”). It is well established that private attorneys are not state actors for purposes of

constitutional claims under 42 U.S.C. § 1983. Polk Cty. v. Dodson, 454 U.S. 312, 318 (1981); see

also Geiling v. Wirt Fin. Servs., Inc., No. 14-11027, 2014 WL 8473822, at *68 (E.D. Mich. Dec.

31, 2014) (stating that “attorneys do not become state actors either by virtue of their position or by

using court procedures, such as subpoenaing evidence”). Thus, Plaintiff has no due process claim

against Defendants.




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       Next, Plaintiff alleges that Defendants are liable for mail fraud pursuant to 18 U.S.C.

§ 1341, extortion pursuant to 18 U.S.C. § 876, and conspiracy pursuant to 18 U.S.C. § 371. These

statutes are all federal criminal statutes, which do not create private rights of action. Sefa v.

Kentucky, 510 F. App’x 435, 438 (6th Cir. 2013); see also Ryan v. Ohio Edison Co., 611 F.2d

1170, 1178–79 (6th Cir. 1979) (holding that 18 U.S.C. § 1341 does not create a private cause of

action); DIRECTV, Inc. v. Shea, No. 5:03-CV-61, 2003 WL 23200250, at *2 (W.D. Mich. Oct. 20,

2003) (dismissing claims based on 18 U.S.C. § 876 because it “is a criminal statute that does not

authorize a civil cause of action”); Smith v. Taylor-Pederson, No. 5:17-cv-11532, 2018 WL

2376567, at *6 (E.D. Mich. Apr. 30, 2018) (dismissing claims under numerous criminal statutes,

including 18 U.S.C. § 371, for lack of a private right of action). Thus, these claims are subject to

dismissal.

       Plaintiff also alleges that Defendants violated 42 U.S.C. § 407(a). This provision, which

is part of the Social Security Act, provides:

       The right of any person to any future payment under this subchapter shall not be
       transferable or assignable, at law or in equity, and none of the moneys paid or
       payable or rights existing under this subchapter shall be subject to execution, levy,
       attachment, garnishment, or other legal process, or to the operation of any
       bankruptcy or insolvency law.

Plaintiff alleges that Defendants violated this provision when they garnished his bank account.

       Plaintiff may maintain suit under § 407(a) only if it creates a private right of action. None

of the federal courts of appeals has considered the issue, but “virtually all of the District Courts

that have done so have held that § 407 does not create a private right of action.” Strine v. Genesee

Valley Fed. Credit Union, No. 11CV633A, 2013 WL 636469, at *8 (W.D.N.Y. Jan. 29, 2013)

(citing Alexander v. Bank of Am., No. 07-4039-CV-C-NKL, 2007 WL 3046637 (W.D. Mo. Oct.

17, 2007)); see, e.g., Pearson v. Bank of Am., N.A., No. CV-16-03402-PHX-JJT, 2016 WL

5871490, at *! (D. Ariz. Oct. 7, 2016) (holding that §407(a) “does not confer a private right of
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action on a plaintiff”); Walton v. U.S. Bank, No. 2:09-CV-931, 2010 WL 392807, at *3 (D. Utah

Oct. 4, 2010) (“Looking at the language of the statute itself, nothing in the language of § 407

expressly creates a private right of action and nothing in § 407 suggests that Congress intended to

create a private right of action.”); Harris v. Prudential Ins. Co. of Am., No. 3:09CV613, 2010 WL

918304, at *5 (N.D. Ohio Mar. 10, 2010) (holding that § 407(a) “creates no private right of

action”). In Alexander, the court observed that nothing in the statute’s language suggests that

Congress intended to create a private right of action, although it concluded that the statute could

be asserted defensively to a garnishment. 2007 WL 3046637, at *2; see also Townsel v. Dish

Network LLC, 668 F.3d 967, 969 (7th Cir. 2012) (noting that while the statute does not expressly

create a private right of action for damages, it may be used defensively when a creditor seeks to

garnish or attach Social Security benefits).

         The foregoing cases, although not binding on this Court (Camreta v. Greene, 563 U.S.

692, 709 n.7 (2011)), offer persuasive reasoning why Section 407(a) does not provide a plaintiff a

private right of action for damages. Accordingly, Plaintiff’s claim based on this statutory provision

should be dismissed.

        In sum, Plaintiff fails to state a claim upon which relief may be granted. Accordingly, the

undersigned recommends that Plaintiff’s claims be dismissed with prejudice.

                                          CONCLUSION

        For the reasons articulated herein, the undersigned recommends that Plaintiff’s complaint

be dismissed. The Court must also decide whether an appeal of this action would be in good faith

within the meaning of 28 U.S.C. § 1915(a)(3). See McGore v. Wrigglesworth, 114 F.3d 601, 611

(6th Cir. 1997). Good faith is judged objectively, Coppedge v. United States, 369 U.S. 438, 445

(1961), and an appeal is not taken in good faith if the issue presented is frivolous, defined as lacking


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an arguable basis either in fact or law. See Dellis v. Corr. Corp. of Am., 257 F.3d 508, 511 (6th

Cir. 2001). For the same reasons that the undersigned recommends dismissal of the action, the

undersigned discerns no good faith basis for an appeal and recommends that, should Plaintiff

appeal this decision, the Court assess the $505.00 appellate filing fee pursuant to § 1915(b)(1), see

McGore, 114 F.3d at 610-11.



Date: December 23, 2019                                       /s/ Sally J. Berens
                                                              SALLY J. BERENS
                                                              U.S. Magistrate Judge


        OBJECTIONS to this Report and Recommendation must be filed with the Clerk of Court
within 14 days of the date of service of this notice. 28 U.S.C. § 636(b)(1)(C). Failure to file
objections within the specified time waives the right to appeal the District Court’s order. See
Thomas v. Arn, 474 U.S. 140 (1985); United States v. Walters, 638 F.2d 947 (6th Cir. 1981).




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